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          Exhibit B
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All American Inspections
PO Box 4717, Covington LA 70434
(985)249-4556
Indoor Air Quality Consultant #IAC2-03-1809




         October 9, 2018


         Sonder
         Attn: Nicole Elia
         Re: 635 N. Scott Street, Units 6, 19, and 20



         Dear Nicole,
         At your request and in your presence, on October 9, 2018, we performed a limited visual inspection and collected air samples of
         the subject apartment units at the above referenced location (3 units total) for the purpose of ascertaining whether mold
         contaminants were present in the air. Using Air O Cell sampling methodology to identify and quantify fungal/mold spore types,
         we collected air samples from the living interiors of each unit and exterior control samples. These samples were sent to EM Lab
         P&K in Phoenix, Arizona and their laboratory analysis are shown on the separately attached report.
         Our observations:
    1.   Visible mold noted in apartment units 19 and 20. This mold was present on ceilings in bedrooms, closets and bathrooms
    2.   Moisture damaged drywall noted under corners of the interior HVAC mini split wall units. The damaged drywall did have active
         moisture. There appears to be issues with refrigerant lines not properly insulated and condensate drain lines leaking. Mold and
         mildew stains visible inside the mini split wall units. We cannot determine the condition of underlying materials, due to the
         presence of moisture there is the possibility of HIDDEN mold growth in underlying building materials.
    3.   Units 19 and 20 had interior humidity levels above 65%, unit 6 interior humidity registered at 59.8%
    4.   Bathroom exhaust fans appear to be improperly venting directly into building cavities, no exhaust fan duct terminations visible on
         exterior of building
    5.   Laminate floor coverings are buckling, floor adhesive is failing and detaching from subfloor surface

         The laboratory’s findings did detect elevated levels of Penicillium/Aspergillus mold in the air samples collected in units 19 and 20.
         Moderate levels of Cladosporium mold detected in the air sample of unit 6. Due to the findings of elevated mold in the interior
         of the units, and conditions noted, a state licensed mold remediation contractor is highly recommended to further assess and
         perform mold remediation as needed. Those areas of contamination should follow EPA guidelines in cleaning and remediation. A
         qualified contractor is also recommended to further evaluate the HVAC systems and venting issues.

         Sincerely,

         Dan Paradela

         All American Inspections and Testing

         985-249-4556
Pictures:




 Figure 1. mold staining on bathroom ceiling               Figure 2. Moisture damaged drywall under wall mini split
                                                           units




 Figure 3. Moisture stains on ceilings                     Figure 4. Laminate floors buckling, adhesive failing and floor
                                                           covering detaching from subfloor




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                                                                                                                            2
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All American Inspections
PO Box 4717, Covington LA 70434
(985)249-4556
Indoor Air Quality Consultant #IAC2-03-1809




        October 16, 2018


        Sonder
        Attn: Nicole Elia
        Re: 635 N. Scott Street, Units 1-17, 19-26
        Sampling and testing for mold, fee: $3075 paid by credit card 10/09/2018

         Dear Nicole,

        At your request and in your presence, on October 9, 2018, we performed a limited visual inspection and collected air samples of
        the subject apartment units at the above referenced location (25 units total) for the purpose of ascertaining whether mold
        contaminants were present in the air. Using Air O Cell sampling methodology to identify and quantify fungal/mold spore types,
        we collected air samples from the living interiors of each unit and exterior control samples. These samples were sent to EM Lab
        P&K in Phoenix, Arizona and their laboratory analysis are shown on the separately attached report.

        Our observations:

        1. Visible mold was noted in most of the apartment units. This mold was present on ceilings in bedrooms and baths as well as
        inside of some closets adjacent to wall mounted mini split units.

        2. Active moisture detected on several ceilings that appears to be either roof leaks and/or HVAC condensation issues.

        3. Moisture damaged drywall noted under corners of the interior HVAC mini split wall units. The damaged drywall did have
        active moisture in several of the units. There appears to be issues with refrigerant lines not properly insulated and condensate
        drain lines leaking. Mold and mildew stains visible inside the wall units. We cannot determine the condition of underlying
        materials, due to the presence of moisture there is the possibility of HIDDEN mold growth in underlying building materials.

        4. More than half of the units had interior humidity levels above 65%

        5. Bathroom exhaust fans appear to be improperly venting directly into building cavities, no duct terminations visible on exterior
        of building

        6. Laminate floor coverings are buckling, adhesives are detaching from subfloor surface and large gaps in seams noted in almost
        half the units

        7. Mold and moisture staining visible inside of electric panels. It appears the un-insulated wiring chase is allowing heat from
        building cavities to form condensation on the cooler metal exposed to the conditioned interiors.
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2




The laboratory’s findings did detect elevated levels of mold in units: 2, 4, 10-17, 21-23, and 26

Stachybotrys mold spores present in unit 8. Stachybotrys mold (also know as “black mold” produces mycotoxins)

Chaetomium mold sports present in unit 9 and 14

Penicillium/Aspergillus mold detected in all samples, some in very high levels.

Due to the elevated mold findings in the interior of the units, a state licensed, mold remediation contractor is highly
recommended to further assess and perform mold remediation following EPA guidelines, before any of the units are re-occupied.

Sincerely,

Dan Paradela

All American Inspections and Testing

985-249-4556




                                                                                                                            2
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All American Home Inspections
Dan Paradela
77119 Crocket Rd
Folsom, LA 70437-3721 USA
(985) 249-4556




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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 1 of 37
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                 Table of Contents
Thank you for choosing MoldREPORT™ from EMLab P&K. Our mission is to provide industry
leadership for the assessment of mold in the home indoor environment.

Your MoldREPORT™ is designed and intended for use by professional inspectors in office and residential home
inspections to help in the assessment of mold growth in the living areas sampled by professional inspectors. Our
laboratory analysis is based on the samples submitted to EMLab P&K. Please read the entire report to fully
understand the complete MoldREPORT™ process. The following is a summary of the report sections:

1. Detailed Results of Sample Analysis - Laboratory results from the samples collected at the site.

2. Understanding Your Sample Analysis Results - Detailed summary of how to understand the analytical results
from the air samples and/or surface samples including interpretive guidelines.

3. Important Information, Terms and Conditions - General information to help you understand and interpret your
MoldREPORT™, including important terms, conditions and applicable legal provision relating to this report.

4. Scope and Limitations - Important information regarding the scope of the MoldREPORT™ system, and
limitations
of mold inspection, air sampling, and surface sampling.

5. Glossary - Definitions and descriptions of frequently used terms and commonly found mold.

6. References and Resources - Literature, websites, and other materials that can provide more in-depth information
about mold and indoor air quality.




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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 2 of 37
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                              Summary of Sample Analysis Results
Do not take any action based on the results of this report until you have read the entire report.

Air Sample Summary:
The MoldSCORE™ was in the HIGH range for the following area(s): 12, 14, 15, 16, 17, 18, 21, 22, 25. A high
MoldSCORE™ indicates a high likelihood of mold growth in the area tested at the time of the inspection. If mold growth
is in fact present, it should be cleaned or physically removed using appropriate controls and precautions by a trained
professional and any associated water source that led to the problem should also be corrected.

The MoldSCORE™ was in the MODERATE range for the following area(s): 2, 4, 10, 11, 13, 19. A moderate
MoldSCORE™ means that the results are inconclusive, and suggests that a more detailed inspection by a trained
professional may make sense if there are any other reasons to believe that mold growth could be a problem in this room.

The MoldSCORE™ was in the LOW range for the following area(s): 1, 3, 5, 7, 8, 9, 20. A low MoldSCORE™ indicates
the air sample did not detect, relative to the outside air, the presence of indoor mold growth in this room at the time of
sampling.

Please see the sections titled "Detailed Results of the Air Sample Analysis" and "Understanding Your Air Sample Analysis
Results" for important additional information.
Location                                                    MoldSCORE™                                                 Exposure Level
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
1: Unit #1 Interior 2644-2006                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 5 for details                                                               130                                                     506        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
2: Unit #2 Interior 2644-2007                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 6 for details                                                               181                                                    1,597       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
3: Unit #3 Interior 2644 2008                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 7 for details                                                               110                                                     507        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
4: Unit #4 Interior 2644 1990                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 8 for details                                                               194                                                    1,227       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
5: Unit #5 Interior 2644 2004                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 9 for details                                                               109                                                     690        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
7: Unit #7 Interior 2644 1982                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 10 for details                                                              103                                                     160        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
8: Unit #8 Interior 2644 2048                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 11 for details                                                              131                                                     464        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
9: Unit #9 Interior 2644 2009                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 12 for details                                                              121                                                     893        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
10: Unit #10 Interior 2644 2002                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 13 for details                                                              172                                                    1,440       7,552



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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 3 of 37
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                              Summary of Sample Analysis Results
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
11: Unit 11, Interior 2644 2038                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 14 for details                                                              167                                                    2,117       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
12: Unit 12, Interior 2644 1996                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 15 for details                                                              290                                                    2,360       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
13: Unit 13, Interior 2689 4618                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 16 for details                                                              176                                                    1,170       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
14: Unit 14, Interior 2689 4605                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 17 for details                                                              300                                                   12,994       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
15: Unit 15, Interior 2689 4593                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 18 for details                                                              300                                                   15,427       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
16: Unit 16, Interior 2644 1972                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 19 for details                                                              300                                                   97,990       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
17: Unit 21, Interior 2644 1966                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 20 for details                                                              300                                                   10,040       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
18: Unit 22, Interior 2689 4598                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 21 for details                                                              300                                                    8,157       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
19: Unit 23, Interior 2643 4883                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 22 for details                                                              181                                                    1,068       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
20: Unit 24, Interior 2689 4603                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 23 for details                                                              128                                                     343        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
21: Unit 25, Interior 2689 4606                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 24 for details                                                              300                                                  230,000       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
22: Unit 26, Interior 2689 4616                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 25 for details                                                              298                                                    3,447       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
25: Unit 17, Interior 2644 1978                 <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 26 for details                                                              299                                                   10,001       7,552




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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
1: Unit #1 Interior 2644-2006                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       130                                                      506            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       125                                                      210            755
B) Cladosporium species spores                                                         100                                                       <7            309
C) Basidiospores                                                                       100                                                      110            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         130                                                      106            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Bipolaris/Drechslera group 2)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      80            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                    EMLab ID: 2020584, Page 5 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
2: Unit #2 Interior 2644-2007                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       181                                                     1,597           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       181                                                      690            755
B) Cladosporium species spores                                                         139                                                      690            309
C) Basidiospores                                                                       100                                                       53            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         121                                                       54            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Epicoccum 2)Nigrospora


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     110            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location 80 of the raw count Cladosporium spores were present as a single clump. 64 of the raw count Penicillium/Aspergillus type spores
             were present as a single clump.
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
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undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
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grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.
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Aerotech Laboratories, Inc                                                                                                    EMLab ID: 2020584, Page 6 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
3: Unit #3 Interior 2644 2008                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       110                                                      507            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       105                                                       80            755
B) Cladosporium species spores                                                         106                                                      110            309
C) Basidiospores                                                                       100                                                      210            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         110                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Curvularia


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      80            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                    EMLab ID: 2020584, Page 7 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
4: Unit #4 Interior 2644 1990                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       194                                                     1,227           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       194                                                      750            755
B) Cladosporium species spores                                                         105                                                      130            309
C) Basidiospores                                                                       100                                                      130            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         111                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Bipolaris/Drechslera group


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     190            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                    EMLab ID: 2020584, Page 8 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
5: Unit #5 Interior 2644 2004                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       109                                                      690            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       100                                                       53            755
B) Cladosporium species spores                                                         108                                                      160            309
C) Basidiospores                                                                       100                                                      210            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         109                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Curvularia


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     240            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                    EMLab ID: 2020584, Page 9 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
7: Unit #7 Interior 2644 1982                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       103                                                      160            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       103                                                       33            755
B) Cladosporium species spores                                                         101                                                       20            309
C) Basidiospores                                                                       100                                                       67            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      40            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location A majority of the trace was not present. The minor portion of the trace present was analyzed. The counts should be considered
             minimal.
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
8: Unit #8 Interior 2644 2048                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       131                                                      464            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       131                                                      240            755
B) Cladosporium species spores                                                         104                                                       80            309
C) Basidiospores                                                                       100                                                      110            5,900
D) "Marker" spore types***                                                             111                                                        7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): 1)Stachybotrys

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      27            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 11 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
9: Unit #9 Interior 2644 2009                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       121                                                      893            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       103                                                      110            755
B) Cladosporium species spores                                                         103                                                       80            309
C) Basidiospores                                                                       100                                                      530            5,900
D) "Marker" spore types***                                                             121                                                       13             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): 1)Chaetomium

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     160            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
10: Unit #10 Interior 2644 2002                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       172                                                     1,440           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       172                                                      610            755
B) Cladosporium species spores                                                         110                                                      210            309
C) Basidiospores                                                                       100                                                      430            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     190            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location 60 of the raw count Penicillium/Aspergillus type spores were present as a single clump.
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 13 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
11: Unit 11, Interior 2644 2038                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       167                                                     2,117           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       167                                                      640            755
B) Cladosporium species spores                                                         163                                                     1,100           309
C) Basidiospores                                                                       100                                                      240            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         102                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     110            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 14 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
12: Unit 12, Interior 2644 1996                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       290                                                     2,360           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       290                                                     2,200           755
B) Cladosporium species spores                                                         100                                                       <7            309
C) Basidiospores                                                                       100                                                      160            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      <7            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 15 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
13: Unit 13, Interior 2689 4618                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       176                                                     1,170           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       176                                                      610            755
B) Cladosporium species spores                                                         110                                                      210            309
C) Basidiospores                                                                       100                                                      270            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      80            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 16 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
14: Unit 14, Interior 2689 4605                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                    12,994           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                     8,500           755
B) Cladosporium species spores                                                         280                                                     4,400           309
C) Basidiospores                                                                       100                                                       27            5,900
D) "Marker" spore types***                                                             121                                                       13             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): 1)Chaetomium

E) "Other" spore types***,****                                                         100                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      27            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 17 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
15: Unit 15, Interior 2689 4593                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                    15,427           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                     8,700           755
B) Cladosporium species spores                                                         298                                                     6,700           309
C) Basidiospores                                                                       100                                                       <7            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      27            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
16: Unit 16, Interior 2644 1972                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                    97,990           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                    13,000           755
B) Cladosporium species spores                                                         300                                                    82,000           309
C) Basidiospores                                                                       100                                                     2,700           5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     290            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 19 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
17: Unit 21, Interior 2644 1966                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                    10,040           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                     7,200           755
B) Cladosporium species spores                                                         179                                                     1,600           309
C) Basidiospores                                                                       100                                                     1,000           5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         121                                                       80            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Alternaria


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     160            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location 118 of the raw count Penicillium/Aspergillus type spores were present as a single clump.
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 20 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
18: Unit 22, Interior 2689 4598                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                     8,157           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                     7,700           755
B) Cladosporium species spores                                                         100                                                      190            309
C) Basidiospores                                                                       100                                                      110            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     157            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 21 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
19: Unit 23, Interior 2643 4883                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       181                                                     1,068           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       181                                                      640            755
B) Cladosporium species spores                                                         100                                                       27            309
C) Basidiospores                                                                       100                                                      130            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         122                                                       81            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Curvularia 2)Other brown 3)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     190            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 22 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
20: Unit 24, Interior 2689 4603                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       128                                                      343            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       128                                                      210            755
B) Cladosporium species spores                                                         102                                                       53            309
C) Basidiospores                                                                       100                                                       <7            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         110                                                       53            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      27            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020584, Page 23 of 37
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
21: Unit 25, Interior 2689 4606                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       300                                                   230,000           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       100                                                       <7            755
B) Cladosporium species spores                                                         300                                                   230,000           309
C) Basidiospores                                                                       100                                                       <7            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       <7            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): None


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location        X                                                                                 <200          1K            10K     >70K spores/m3 spores/m3
Outside                      X                                                                                                                   <7            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
22: Unit 26, Interior 2689 4616                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       298                                                     3,447           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       298                                                     3,000           755
B) Cladosporium species spores                                                         100                                                       <7            309
C) Basidiospores                                                                       100                                                      290            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     130            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
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                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
25: Unit 17, Interior 2644 1978                  Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       299                                                    10,001           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       264                                                     2,100           755
B) Cladosporium species spores                                                         299                                                     7,500           309
C) Basidiospores                                                                       100                                                      110            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         100                                                       81            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Alternaria 2)Curvularia 3)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                     210            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                      MoldREPORT
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                                   Understanding Your Air Sample Analysis Results
Description of the Air MoldREPORT™ Analysis
Mold spores are present in virtually all environments, both indoors and outdoors, with a few notable exceptions such
as industrial clean rooms and hospital organ transplant rooms. Generally, in "normal" or "clean" indoor
environments, indoor spore levels are lower, on average, than outdoor levels. However, even the most simple rules
(such as "inside/outside" ratios) are not always appropriate for determining whether there is a source of mold growth
indoors, and may provide false or misleading results. One reason these simple methods do not always work is
because both outdoor and indoor spores levels vary widely due to factors such as weather conditions and activity
levels within the room. For example, even in a "normal" home, spore levels can be higher than outdoors at certain
times, such as after vacuuming (when airborne indoor levels could be unusually high) or after a heavy snow (when
outdoor levels could be unusually low).

MoldREPORT™ is designed and intended to provide an easily understood report for residential home inspections to
help in the assessment of mold growth in the living areas sampled. MoldREPORT™ relies on non-invasive and non-
destructive tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™
results apply only to the rooms or areas tested, at the time of sampling. Factors taken into consideration include, but
are not limited to, the distribution of spore types, absolute levels inside and outside, relative levels inside and outside,
the range and variation of spore levels that normally occur outside, and the types of spores present.

Providing you with a helpful, understandable and top quality interpretation requires special expertise. EMLab P&K
recognizes this and has taken the following steps to provide the best possible interpretation of your air sampling
results.

1. Your samples were analyzed by EMLab P&K,

2. We utilize the proprietary MoldREPORT™ analysis system, which was developed by a team including leading
professionals in the indoor air quality (IAQ) industry.

MoldSCORE™
The MoldSCORE™ indicates the likelihood, based upon the air sample laboratory data, that there is unusual or
excessive mold growth in the properly sampled indoor area(s). It is calculated using EMLab P&K's proprietary
MoldREPORT™ system, based upon the indicator scores described in the following paragraphs. When the on-site
inspection and sampling are done properly, MoldREPORT™ is less likely to give false results than other, simpler
methods of interpretation often employed for routine home inspections, such as ratio analysis. It is important to bear
in mind that any analytical method, findings, and interpretation should be used with a degree of caution and common
sense. Any decisions related to health should be made in consultation with a medical doctor, and nothing in this
report is intended to provide medical advice or indicate whether a medical or safety problem exists.

Descriptions of the indicators:

Quantity and concentration of Penicillium/Aspergillus spore types
This score indicates the likelihood that spores of Penicillium or Aspergillus present in the indoor sample originated
from indoor sources. A high score suggests that there is a high probability that Penicillium or Aspergillus is
originating indoors, such as from active mold growth. A low score indicates that the spores present are more likely to
have originated from outdoor sources and come inside through doors and windows, carried in on people's clothing,
or similar methods. Penicillium and Aspergillus are among the most common molds found growing indoors and are
one of the more commonly found molds outside as well. Their spores are frequently present in both outdoor and
indoor air, even in relatively clean, mold-growth-free, indoor environments. Additionally, their levels vary
significantly based upon activity levels, dustiness, weather conditions, outside air exchange rates, and other factors.



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                        Understanding Your Air Sample Analysis Results (continued)
Quantity and concentration of Cladosporium spores
This score indicates the likelihood that spores of Cladosporium present in the indoor sample originated from indoor
sources. A high rating indicates that there is probably a source of Cladosporium spores in this location.
Cladosporium is one of the most commonly found molds outdoors and is also frequently found growing indoors. Even
more so than Penicillium and Aspergillus, spores from Cladosporium are generally present in outdoor and indoor air,
even in relatively clean, mold-growth-free, indoor environments. Its levels also vary based upon activity levels,
weather conditions, dustiness, outside air exchange rates, and other factors.

Quantity and concentration of basidiospores
This score indicates the likelihood that basidiospores present in the indoor sample originated from indoor sources.
Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It is rare
for the source of basidiospores to be indoors because basidiospores are produced by a group of fungi that includes
mushrooms and other "macrofungi" (and are not technically molds). Their concentrations can be extremely high
outdoors during wet conditions such as rain. Nevertheless, in certain conditions basidiospores can be produced
indoors, and a high rating indicates that there is probably a source of basidiospores indoors. One reason
basidiospores are important is that they can be an indicator of wood decay (e.g. "dry rot"), a condition that can
dramatically reduce the structural integrity of a building.

Quantity and concentration of "marker" spore types
This score indicates the likelihood that certain distinctive types of mold present in the indoor sample originated from
indoor sources. Certain types of mold are generally found in very low numbers outdoors. Consequently, their
presence indoors, even in relatively low numbers compared to Penicillium, for example, is often an indication that
these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a
mold problem. Note, however, that the absence of marker spore types does not mean that a mold problem does not
exist in a house; it just means that if a problem is present, it either involves types of mold that are more commonly
found both indoors and outdoors, or that the spores from these molds were not airborne at the time of sampling.

Quantity and concentration of "other" spore types
This score indicates the likelihood that other types of mold present in the indoor sample originated from indoor
sources. This score includes a heterogeneous group of genera that are not covered by any of the scores discussed
above, and so it is difficult to make generalizations about this group. Molds in the "other" category are generally
found outdoors in moderate numbers, and are therefore not considered markers of indoor growth. They are frequently
found indoors but in lower numbers compared to Cladosporium and Penicillium/Aspergillus spores.

Other Sample Information:

Sample clarity and visibility
Air samples collect dirt and debris in addition to mold spores. Higher levels of debris make analysis more difficult,
because they obscure the analyst's view of spores and can therefore lead to undercounting of the mold spores present.
When sample clarity and visibility is rated "poor", the analytical results should be regarded as minimal and actual
counts may be higher than reported.

Other "normal trapping" spores
Some molds do not grow on wet building materials and, consequently, are not usually indicative of building problems,
or growth on building surfaces. Strict plant pathogens, for example, even if present in high numbers indoors, are not
an indication of a building leak or mold growth on a wall or carpet. This section of the report focuses on the exposure
level that may be due to these spore types.




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                        Understanding Your Air Sample Analysis Results (continued)
Sample volume
The "sample volume" indicates the volume of air sampled and is reported in liters. A high volume indicates a greater
sensitivity, but is more likely to result in poor sample clarity and visibility. A low volume is more likely to have good
sample clarity and visibility, but has less sensitivity.

Comments
This is where analysts can comment on unusual details or add additional information that is not captured by the other
areas of the air sampling report.




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                                   Interpretive Guidelines to MoldSCORE™ Levels
MoldSCORE™ Level: LOW
A low MoldSCORE™ indicates the air sample did not detect, relative to the outside air, the presence of indoor mold growth in
this room at the time of sampling. This result, by itself, is evidence for, but does not prove, the absence of indoor mold growth in
the location sampled.

Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
time of the inspection.

MoldSCORE™ Level: MODERATE
The air sampling MoldSCORE™ indicated the possibility of mold growth indoors. Generally, a MODERATE level means that the
results are inconclusive, and suggests that a more detailed inspection may make sense if there are any other reasons to believe
that mold growth could be a problem in this location. Indoor mold growth is a possibility, but was not confirmed in the areas
sampled at the time of the inspection. Factors such as recent cleaning, HVAC cycles, high winds, rain, or other indoor or outdoor
conditions could have contributed to a MODERATE result in the absence of indoor mold growth. If mold growth is found,
regardless of the magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls
and precautions. If mold has been located and removed, it is also important to identify and correct the source of moisture or
dampness that allowed the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend
that you consult a professional if you are not familiar with how to locate and safely remove mold growth or how to identify and
correct moisture problems that may exist.

Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
time of the inspection.

MoldSCORE™ Level: HIGH
The air sampling MoldSCORE™ indicated a high likelihood of mold growth in the area tested at the time of the inspection. This
result is NOT necessarily an indication that any such mold growth was extensive. If mold growth is found, regardless of the
magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls and precautions. If
mold has been located and removed, it is also important to identify and correct the source of moisture or dampness that allowed
the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend that you consult a
professional if you are not familiar with how to locate and safely remove mold growth or how to identify and correct moisture
problems that may exist.

Health concerns
Neither this report nor any MoldSCORE™ rating is intended to provide medical advice, nor shall it be interpreted as an
indicator of potential medical or safety problems. If you have concerns or questions relating to your health, please contact your
physician for advice.




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     Important Information, Terms and Conditions Relating to your MoldREPORT™
The study and understanding of molds is a progressing science. Because different methods of sampling, collection and analysis
exist within the indoor air quality industry, different inspectors or analysts may not always agree on the mold concentrations
present in a given environment. Additionally, the airborne levels of mold change frequently and by large amounts due to many
factors including activity levels, weather, air exchange rates (indoors), and disturbance of growth sites. It is possible for report
interpretations and ranges of accuracy to vary since comprehensive, generally accepted industry standards do not currently exist
for indoor air quality inspections of mold in residential indoor environments. MoldREPORT™ is intended to provide an analysis
based upon samples taken at the site at the time of the inspection. Mold levels can and do change rapidly, especially if home
building materials or contents remain wet for more than 24 hours, or if they are wet frequently. MoldREPORT™ is not intended
to provide medical or healthcare advice. All allergy or medical-related questions and concerns, including health concerns
relating to possible mold exposure, should be directed to a qualified physician. If this report indicates scores that are higher than
in typical indoor living spaces relative to the outdoor environment, or indicates any findings that are of concern to you, further
evaluation by a trained mold professional or a Certified Industrial Hygienist (CIH) may be advisable.

Warranties, legal disclaimers and limitations
MoldREPORT™ is designed and intended for use only in residential home inspections to help in the assessment of mold growth
in the living areas sampled. Our laboratory analysis and report are based on the samples submitted to EMLab P&K. The
inspection(s) and sampling should be performed only by a licensed and professional home inspector, environmental mold
specialist, industrial hygienist or residential appraiser trained and qualified to conduct mold inspections in residential buildings.
Client agrees to these conditions for the on-site project inspection.

This MoldREPORT™ is generated by EMLab P&K at the request of, and for the exclusive use of, the EMLab P&K client named
on this report. The analysis of the test samples is performed by EMLab P&K. EMLab P&K's policy is that reports and test results
will not be released to any third party without prior written consent from EMLab P&K's client. This report applies only to the
samples taken at the time, place and location referenced in the report and received by EMLab P&K, and to the property and
weather conditions existing at that time only. Please be aware, however, that property conditions, inspection findings and
laboratory results can and do change over time relative to the original sampling due to changing conditions, the normal
fluctuation of airborne mold, and many other factors. Client and reader are advised that EMLab P&K does not furnish, and has
no responsibility for, the inspector or inspection service that performs the inspection or collects the test samples. It is the
responsibility of the end-user of this report to select a properly trained professional to conduct the inspection and collect
appropriate samples for analysis and interpretation by MoldREPORT™. None of EMLab P&K, EMLab P&K or their affiliates,
subsidiaries, suppliers, employees, agents, contractors and attorneys (each an "EMLab P&K-related party") are able to make
and do not make any determinations as to the safety or health condition of a property in this report. The client and client's
customer are solely responsible for the use of, and any determinations made from, this report, and no EMLab P&K-related party
shall have any liability with respect to decisions or recommendations made or actions taken by either the client or the client's
customer based on the report.

Except as expressly provided for hereunder, each EMLab P&K-related party hereby expressly disclaims any and all
representations and warranties of any kind or nature, whether express, implied or statutory, related to the testing services or this
report. Additionally, neither this report nor any EMLab P&K-related party make any express or implied warranty or guarantee
regarding the inspection or sampling done by the inspector, the qualifications, training or sampling methodology used by the
inspector performing the sampling and inspection reported herein, or the accuracy of any information provided to any EMLab
P&K-related party serving as a basis for this report. EMLab P&K reserves the right to change its scoring method at any time
without notice. EMLab P&K reserves the right to dispose of samples two weeks after analysis unless otherwise specified by the
client. If the client chooses to have EMLab P&K continue to retain the samples after this two week period, the client must provide
written notification to EMLab P&K of this request. EMLab P&K reserves the right to charge for the additional sample storage.

In no event will any EMLab P&K-related party be liable for any special, indirect, incidental, punitive, or consequential damages
of any kind regardless of the form of action whether in contract, tort (including negligence), strict product liability or otherwise,
arising from or related to the testing services or this report. The aggregate liability of the EMLab P&K-related parties related to
or arising from this report, whether under contract law, tort law, warranty or otherwise, shall be limited to direct damages not to
exceed the fees actually received by EMLab P&K from the client for the report.

The invalidity or unenforceability, in whole or in part, of any provision, term or condition herein shall not invalidate or otherwise
affect the enforceability of the remainder of these provisions, terms and conditions.


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                                      Scope and Limitations of Report and Analysis
The scope of the MoldREPORT™ system is limited to EMLab P&K's proprietary MoldSCORE™ analysis of the air and surface
samples taken at the time of the inspection. EMLab P&K cannot be liable, in any form of action, for any items that are not
included within the scope of the MoldREPORT™ system.

MoldREPORT™ Inspection Limitations
MoldREPORT™ results are based upon mold air and surface samples. Mold surface samples are useful for confirming and
identifying mold growth while air samples measure airborne mold levels.

This report provided by EMLab P&K is based upon the assumption that the information provided by the inspector is true and
correct, that a sufficient number of mold and air samples were collected at all the appropriate locations following proper
inspection and sampling protocols, and that the mold samples collected represent normal conditions at the site sampled. EMLab
P&K is not able to, and cannot, guarantee the skill level or experience of the inspector performing the MoldREPORT™
inspection, nor can it guarantee that the samples have been properly collected at the site or are representative of normal
conditions since many factors outside of EMLab P&K's (and the inspector's) control can and do substantially affect mold levels.
Consequently, EMLab P&K cannot guarantee the accuracy of the interpretation provided herein. It is the responsibility of the
inspector to insure that the mold samples were collected properly. MoldREPORT™ relies on non-invasive and non-destructive
tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™ results apply only to the
rooms sampled, not to the entire building or any other rooms. It is the responsibility of the property owner, potential purchaser or
other end-user of this report to select a properly trained and qualified inspector.

About Air Sample Sampling and Analysis
EMLab P&K requires at least one outdoor air sample and one indoor air sample in order to make indoor/outdoor comparisons
and assessments of airborne mold levels, which are an integral part of the EMLab P&K MoldREPORT™ system. The indoor air
samples taken can be representative of the airborne mold present in the area sampled. The analysis and interpretation of these air
samples is proprietary and is based upon: relative levels of spores present, quantities and concentration of Penicillium/
Aspergillus type spores, quantity and concentration of Cladosporium spores, quantity and concentration of basidiospores,
quantity and concentration of "marker" spore types, quantity and concentration of "other" spore types, and the distribution of
mold spore types. Spore identification is performed visually by trained analysts according to industry norms. Using visual
identification, most mold spores lack sufficient distinguishing characteristics to allow for species identification, so the
MoldREPORT™ analysis is generally performed at the genus level. Currently there are no generally-accepted protocols or
regulations regarding air sampling for molds, in large part due to the inability of any single technique to provide a complete
analysis of all mold spores and mold growth in an area. Air sampling for MoldREPORT™ can be performed using any standard
"spore trap" method, which are also called "non-viable air sampling methods" because spore traps do not require the
germination and growth of the spores before identification. Commonly used spore trap equipment for performing air sampling for
mold includes Zefon Air-O-Cell™ Cassettes, Burkard™ samplers, and Allergenco™ samplers.

About Surface Sampling and Analysis
Surface sampling can be useful for differentiating between mold growth and stains, for identifying the type of mold growth
present (if present), and, in some cases, identifying signs of mold growth in the vicinity. Although not required, surface sampling
can improve the accuracy of the results and interpretation of the inspected environment if sampled correctly. EMLab P&K
accepts surface samples in the form of swabs, tapes, or bulks in order to perform a direct examination of a specific location. The
MoldREPORT™ analysis system uses the direct examination data in addition to the MoldREPORT™ air sample analysis.




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Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                         Glossary
Background Debris - Material(s) found on the air sample other than mold spore(s) or mycelia. Examples include skin
cells, insect parts, and fibers.

False Positive - A test result that incorrectly indicates mold growth, when in reality there is none. For example, an air
sample test result indicating indoor mold growth, when no mold growth is actually present is a "False Positive."

False Negative - A test result that shows no mold growth, when in reality mold growth is present. For example, an air
sample test result indicating no indoor mold growth, when mold growth is actually present.

Fungi - A kingdom that includes yeasts, molds, smuts, and mushrooms. Fungi are not animals, plants or bacteria, but
their own kingdom.

HVAC - Heating, Ventilation, and Air Conditioning (HVAC) systems are possible reservoirs for mold growth.

IAQ - Indoor Air Quality (IAQ) is the main focus of EMLab P&K and the majority of its customers.

Industrial Hygienist - A professional who monitors exposure to environmental factors that can affect human health.
Examples of environmental factors include chemicals, heat, asbestos, noise, radiation, and biological hazards.

Marker Spores - Spore types, such as Chaetomium and Stachybotrys, that when found indoors, even in moderate
numbers are an indication of indoor mold growth.

Note: This glossary is intended to provide general information about commonly occurring molds, and is not intended
to be a complete source.

Alternaria:
Distribution: Alternaria is one of the most common molds and is abundant worldwide. This genus contains around
40 to 50 different species, only a few of which are commonly found indoors.
How it is spread: Alternaria spores are easily dispersed through the air by wind.
Where it is found outdoors: Alternaria is common outdoors in soil, dead organic debris, foodstuffs, and textiles. It is
also a plant pathogen and is frequently found on dead or weakened plants.
Where it is found indoors: Alternaria can grow on a variety of substrates indoors when moisture is present.

Acremonium:
Distribution: Acremonium is a common mold, including about 80 to 90 different species.
How it is spread: Acremonium produces wet slimy spores and is normally dispersed through water flow or droplets,
or by insects. Old dry Acremonium spores can sometimes be dispersed through the air by wind.
Where it is found outdoors: Acremonium is found in soil, on dead organic material and debris, hay, and foodstuffs.
Where it is found indoors: Acremonium can be found anywhere indoors, but requires very wet conditions in order to
proliferate. The spores probably require active disturbance for release.

Aspergillus: (see Penicillium/Aspergillus)




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
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                                                              Glossary (continued)
Basidiospores:
Distribution: Basidiospores are produced by a very large and diverse group of fungi called basidiomycetes, which
contains over 1000 different genera. This group includes many well-known macrofungi, such as mushrooms.
Basidiospores are often abundant in outdoor air and sometimes in indoor air.
How they are spread: Many types of basidiospores are actively released into the air during periods of high humidity
or rain. Once the spores are expelled into the air, they are dispersed easily by wind.
Where they are found outdoors: Basidiomycetes are very common outdoors and can be found in gardens, forests,
grasslands, and anywhere there is a substantial amount of dead organic material. They are also found on or near
plants and some are known to be plant pathogens.
Where they are found indoors: Basidiospores found indoors typically come from outdoor sources and are carried
inside by airflow or on clothing. Certain kinds of basidiomycetes can grow indoors, such as those that cause "dry
rot", which can cause structural damage to wood. Occasionally, other basidiomycetes such as mushrooms can be
found indoors, but this is not common. Generally, basiodiomycetes require wet conditions for prolonged periods in
order to grow indoors.

Bipolaris / Dreschlera:
Distribution: Bipolaris and Dreschlera are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. Both genera include around 30 - 40 different species.
How they are spread: Bipolaris / Dreschlera spores are easily dispersed through the air by wind.
Where they are found outdoors: Bipolaris / Dreschlera type spores are most abundant in tropical or subtropical
climates. They can grow in soils, on plant debris and grasses, and are known to be plant pathogens.
Where they are found indoors: Bipolaris / Dreschlera can grow on a variety of indoor substrates when moisture is
present.

Ceratocystis / Ophiostoma:
Distribution: Ceratocystis / Ophiostoma are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. These genera contain around 50 to 60 different species.
How they are spread: Ceratocystis / Ophiostoma produce wet slimy spores and are normally dispersed through
water flow, droplets, or by insects. These spores are rarely identified in air samples.
Where they are found outdoors: Ceratocystis / Ophiostoma are very common in commercial lumberyards and
forests.
Where they are found indoors Ceratocystis / Ophiostoma are abundant on wood framing material in the home,
although the spores are rarely found in air samples. This mold is sometimes called "lumber mold".

Chaetomium:
Distribution: Chaetomium is a common mold worldwide. This genus contains around 80 - 90 different species.
How it is spread: Chaetomium spores are formed inside fruiting bodies. The spores are released by being forced out
through a small opening in the fruiting body. The spores are then dispersed by wind, water drops, or insects.
Where it is found outdoors: Chaetomium can be found in soil, on various seeds, cellulose substrates, dung, woody
materials and straw.
Where it is found indoors: Chaetomium can grow in a variety of areas indoors, but is usually found on cellulose-
based or woody materials in the home. It is very common on sheetrock paper that is or has been wet.




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
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                                                              Glossary (continued)
Cladosporium:
Distribution: Cladosporium is an abundant mold worldwide and is normally one of the most abundant spore types
present in both indoor or outdoor air samples. This genus contains around 20 - 30 different species.
How it is spread: Cladosporium produces dry spores that are formed in branching chains. Spores are released by
twisting of the spore-bearing hyphae as they dry. Thus, the spores are most abundant in dry weather.
Where it is found outdoors: Cladosporium is found in a wide variety of soils, in plant litter, and on old and decaying
plants and leaves. Some species are plant pathogens
Where it is found indoors: Cladosporium can be found anywhere indoors, including textiles, bathroom tiles, wood,
moist windowsills, and any wet areas in a home. Some species of Cladosporium grow at temperatures near or below
0(C) / 32(F) and can often be found on refrigerated foodstuffs and even frozen meat.

Curvularia:
Distribution: Curvularia is a cosmopolitan fungus and includes approximately 30 different species.
How it is spread: Curvularia produces dry spores that are formed in fragile chains and is very easily dispersed
through the air by wind.
Where it is found outdoors: Curvularia is most common in tropical or subtropical regions. It is found in soil and on
debris of tropical plants.
Where it is found indoors: Curvularia can be found growing on a variety of substrates indoors.

Epicoccum:
Distribution: Epicoccum is a cosmopolitan mold that includes only two species.
How it is spread: Epicoccum produces large dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Epicoccum can be found in soils or on plant debris.
Where it is found indoors: Epicoccum is commonly found on many different substrates indoors including paper,
textiles, and insects.

Memnoniella:
Distribution: Memnoniella is a cosmopolitan mold genus that includes approximately five species. It is frequently
found in conjunction with Stachybotrys species due to its similar ecological preferences.
How it is spread: Memnoniella produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Memnoniella can be found outdoors in soil, in plant debris or litter, and as pathogens
on some types of living plants.
Where it is found indoors: Memnoniella can grow on a variety of substrates indoors, but mainly can be found on
wet cellulose-based materials, such as wallboard, jute, wicker, straw baskets, paper and other wood by-products.

Paecilomyces:
Distribution: Paecilomyces is ubiquitous in nature and includes between 9 and 30 different species, depending on the
taxonomic system used. Its spores are visually similar to Penicillium / Aspergillus types of spores.
How it is spread: Paecilomyces produce dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Paecilomyces is found outdoors in soils and decaying plant matter, composting
processes, legumes and cottonseeds. Some species parasitize insects.
Where it is found indoors: Paecilomyces can be found on a number of materials indoors. It has been isolated from
jute fibers, papers, PVC, timber, optical lenses, leather, photographic paper, cigar tobacco, harvested grapes, bottled
fruit, and fruit juice undergoing pasteurization.




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
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                                                              Glossary (continued)
Penicillium / Aspergillus:
Distribution: Penicillium / Aspergillus are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. Together, there are approximately 400 different species of Penicillium /
Aspergillus.
How it is spread: Penicillium / Aspergillus produce dry spore types that are easily dispersed through the air by wind.
These fungi serve as a food source for mites, and therefore can be dispersed by mites and various insects as well.
Where it is found outdoors: Penicillium / Aspergillus are found in soils, decaying plant debris, compost piles, fruit
rot and some petroleum-based fuels.
Where it is found indoors: Penicillium / Aspergillus are found throughout the home. They are common in house
dust, growing on wallpaper, wallpaper glue, decaying fabrics, wallboard, moist chipboards, and behind paint. They
have also been isolated from blue rot in apples, dried foodstuffs, cheeses, fresh herbs, spices, dry cereals, nuts,
onions, and oranges.

Stachybotrys:
Distribution: Stachybotrys is ubiquitous in nature. This genus contains about 15 species.
How it is spread: Stachybotrys produces wet slimy spores and is commonly dispersed through water flow, droplets,
or insect transport, less commonly through the air.
Where it is found outdoors: Stachybotrys is found in soils, decaying plant debris, decomposing cellulose, leaf litter
and seeds.
Where it is found indoors: Stachybotrys is common indoors on wet materials containing cellulose such as
wallboard, jute, wicker, straw baskets, and other paper materials.

Torula:
Distribution: Torula is a cosmopolitan microfungus and includes approximately eight different species
How it is spread: Torula produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Torula is most common in temperate regions and has been isolated from soils, dead
herbaceous stems, sugar beet roots, groundnuts, and oats.
Where it is found indoors: Torula is common indoors on wet materials containing cellulose, such as wallboard, jute,
wicker, straw baskets, and other paper materials.

Ulocladium:
Distribution: Ulocladium is ubiquitous in nature and includes approximately nine different species.
How it is spread: Ulocladium produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Ulocladium is common outdoors in soils, dung, paint, grasses, wood, paper, and
textiles.
Where it is found indoors: Ulocladium is common indoors on very wet materials containing cellulose such as
wallboard, jute, wicker, straw baskets, and other paper materials. Ulocladium requires a significant amount of water
to flourish.




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 635 N. Scott                                                                                   1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                         References and Resources
References:

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Bioaerosols: Assessment and Control, Janet Macher, Sc.D., M.P.H., Editor. 1999. ACGIH, 1330 Kemper Meadow Drive,
Cincinnati, OH 45240-1634.

Bioaerosols, Harriet Burge, Ph.D. 1995. Lewis Publishers, 2000 Corporate Blvd., N.W., Boca Raton, FL 33431-9868.

Biological Contaminants in Indoor Environments, Morey, Feeley, Otten, Editors. 1990. ASTM, 1916 Race Street, Philadelphia,
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Conference, Saratoga Springs, NY October 6-7, 1994.

Health Implications of Fungi in Indoor Environments, Edited by R.A. Samson. 1994. Elsevier Science, P.O. Box 945, Madison
Square Station, New York, NY 10159-0945.

Indoor Air and Human Health, Gammage & Kaye. 1985. Lewis Publishers.

Microfungi, S.G. Gravesen, J.C. Frisvad, & R.A. Samson, published by Munksgaard.

Useful Websites:

www.acgih.org
American Conference of Governmental Industrial Hygienists - information on IAQ and useful links.

www.aiha.org
American Industrial Hygiene Association - general IAQ information

www.calepa.ca.gov
California Environmental Protection Agency - California IAQ resources

www.emlab.com
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www.epa.gov
Environmental Protection Agency - information regarding prevention and remediation of mold

www.health.state.ny.us
New York State Department of Health - New York state recommendations for IAQ, indoor mold inspections, remediation, and
prevention

www.moldreport.com
MoldREPORT™ - online store, and other information about MoldREPORT™

www.nih.gov
National Institutes of Health - information regarding environmental health issues, including IAQ

www.niehs.nih.gov
National Institute of Environmental Health Sciences - information on mold



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All American Home Inspections
Dan Paradela
77119 Crocket Rd
Folsom, LA 70437-3721 USA
(985) 249-4556




Approved by:                                                      Dates of Analysis:
                                                                  MoldReport Spore trap: 10-12-2018 to 10-12-2018




     Operations Manager
     Joshua Cox




Service SOPs: MoldReport Spore trap (EM-MY-S-1038)
AIHA-LAP, LLC accredited service, Lab ID #102297




All samples were received in acceptable condition unless noted in the Report Comments portion in the body of the report. Due to
the nature of the analyses performed, field blank correction of results is not applied. The results relate only to the items tested.


The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the
analytical sensitivity (in spores/m^3) multiplied by the sample volume (in liters) divided by 1000 liters.

EMLab P&K ("the Company") shall have no liability to the client or the client's customer with respect to decisions or
recommendations made, actions taken or courses of conduct implemented by either the client or the client's customer as a result
of or based upon the Test Results. In no event shall the Company be liable to the client with respect to the Test Results except for
the Company's own willful misconduct or gross negligence nor shall the Company be liable for incidental or consequential
damages or lost profits or revenues to the fullest extent such liability may be disclaimed by law, even if the Company has been
advised of the possibility of such damages, lost profits or lost revenues. In no event shall the Company's liability with respect to
the Test Results exceed the amount paid to the Company by the client therefor.
Aerotech Laboratories, Inc                                                                            EMLab ID: 2020584, Page 1 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                          1:                                   2:                                    3:
                                                      Unit #1 Interior 2644-2006           Unit #2 Interior 2644-2007             Unit #3 Interior 2644 2008
Comments (see below)                                             None                                   A                                    None
Lab ID-Version‡:                                              9531903-1                            9531904-1                              9531905-1
Analysis Date:                                               10/12/2018                           10/12/2018                             10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                 -                  -                   -                  -                  -
Basidiospores                                               4                110                 2                  53                  8                210
Chaetomium                                                  -                 -                  -                   -                  -                  -
Cladosporium                                                -                 -                 86                 690                  4                110
Fusarium                                                    -                 -                  -                   -                  -                  -
Penicillium/Aspergillus types                               8                210                74                 690                  3                 80
Stachybotrys                                                -                 -                  -                   -                  -                  -
Trichoderma                                                 -                 -                  -                   -                  -                  -
Ulocladium                                                  -                 -                  -                   -                  -                  -
Others                                                      7                190                 6                 160                  4                110
                               § Total:                                      510                                  1,600                                  510
Additional Information:
Hyphal fragments                                      -                         -                             -
Skin cells                                    2,000 - 4,000                40 - 2,000                    40 - 2,000
Pollen                                               <7                        <7                           <7
Background debris (1-4)†                              3                         3                            3
Limit of detection                                    7                         7                            7
Sample volume (liters)                              150                        150                          150
Comments: A) 80 of the raw count Cladosporium spores were present as a single clump. 64 of the raw count Penicillium/
            Aspergillus type spores were present as a single clump.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.

‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                         4:                                   5:                                     7:
                                                      Unit #4 Interior 2644 1990           Unit #5 Interior 2644 2004             Unit #7 Interior 2644 1982
Comments (see below)                                             None                                 None                                     B
Lab ID-Version‡:                                              9531906-1                            9531907-1                              9531909-1
Analysis Date:                                               10/12/2018                           10/12/2018                             10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                 -                  -                   -                  -                  -
Basidiospores                                               5                130                 8                 210                 10                 67
Chaetomium                                                  -                 -                  -                   -                  -                  -
Cladosporium                                                5                130                 6                 160                  3                 20
Fusarium                                                    -                 -                  -                   -                  -                  -
Penicillium/Aspergillus types                              28                750                 2                  53                  5                 33
Stachybotrys                                                -                 -                  -                   -                  -                  -
Trichoderma                                                 -                 -                  -                   -                  -                  -
Ulocladium                                                  -                 -                  -                   -                  -                  -
Others                                                      8                210                10                 270                  6                 40
                             § Total:                                       1,200                                  690                                   160
Additional Information:
Hyphal fragments                                    -                              -                            -
Skin cells                                       7 - 33                      40 - 2,000                    40 - 2,000
Pollen                                             <7                             <7                           <7
Background debris (1-4)†                            2                              2                            2
Limit of detection                                  7                              7                            7
Sample volume (liters)                            150                            150                          150
Comments: B) A majority of the trace was not present. The minor portion of the trace present was analyzed. The counts should
            be considered minimal.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.

‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Client: All American Home Inspections                                                                                                          MoldREPORT
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Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                         8:                                   9:                                    10:
                                                        Unit #8 Interior 2644                Unit #9 Interior 2644                 Unit #10 Interior 2644
                                                                2048                                 2009                                  2002
Comments (see below)                                               None                                 None                                    C
Lab ID-Version‡:                                                9531910-1                            9531911-1                              9531912-1
Analysis Date:                                                  10/12/2018                           10/12/2018                             10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                  -                 -                   -                  -                 -
Basidiospores                                               4                110                20                 530                 16                430
Chaetomium                                                  -                  -                 2                  13                  -                 -
Cladosporium                                                3                 80                 3                  80                  8                210
Fusarium                                                    -                  -                 -                   -                  -                 -
Penicillium/Aspergillus types                               9                240                 4                 110                 68                610
Stachybotrys                                                1                  7                 -                   -                  -                 -
Trichoderma                                                 -                  -                 -                   -                  -                 -
Ulocladium                                                  -                  -                 -                   -                  -                 -
Others                                                      1                 27                 6                 160                  7                190
                            § Total:                                         460                                   890                                  1,400
Additional Information:
Hyphal fragments                                  27                             -                                                                -
Skin cells                                    40 - 2,000                    40 - 2,000                                                         7 - 33
Pollen                                           <7                             <7                                                               <7
Background debris (1-4)†                           3                             3                                                                2
Limit of detection                                 7                             7                                                                7
Sample volume (liters)                           150                           150                                                              150
Comments: C) 60 of the raw count Penicillium/Aspergillus type spores were present as a single clump.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.

‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 4 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                        11:                                   12:                                   13:
                                                       Unit 11, Interior 2644                Unit 12, Interior 2644                Unit 13, Interior 2689
                                                                2038                                  1996                                  4618
Comments (see below)                                               None                                 None                                   None
Lab ID-Version‡:                                                9531913-1                            9531914-1                              9531915-1
Analysis Date:                                                  10/12/2018                           10/12/2018                             10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                 -                  -                  -                   -                  -
Basidiospores                                               9                240                 6                 160                 10                270
Chaetomium                                                  -                 -                  -                  -                   -                  -
Cladosporium                                               40               1,100                -                  -                   8                210
Fusarium                                                    -                 -                  -                  -                   -                  -
Penicillium/Aspergillus types                              24                640                84                2,200                23                610
Stachybotrys                                                -                 -                  -                  -                   -                  -
Trichoderma                                                 -                 -                  -                  -                   -                  -
Ulocladium                                                  -                 -                  -                  -                   -                  -
Others                                                      5                130                 -                  -                   3                 80
                                         § Total:                           2,100                                 2,400                                 1,200
Additional Information:
Hyphal fragments                                                     -                                    -                                      -
Skin cells                                                      40 - 2,000                           40 - 2,000                             40 - 2,000
Pollen                                                             <7                                   <7                                     <7
Background debris (1-4)†                                            2                                    2                                      2
Limit of detection                                                  7                                    7                                      7
Sample volume (liters)                                             150                                  150                                    150
Comments:
Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.


‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 5 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                        14:                                   15:                                   16:
                                                       Unit 14, Interior 2689                Unit 15, Interior 2689                Unit 16, Interior 2644
                                                                4605                                  4593                                  1972
Comments (see below)                                               None                                  None                                  None
Lab ID-Version‡:                                                9531916-1                             9531917-1                             9531918-1
Analysis Date:                                                  10/12/2018                            10/12/2018                            10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                              -                   -                 -                   -                  -                 -
Basidiospores                                              1                  27                 -                   -                 10               2,700
Chaetomium                                                 2                  13                 -                   -                  -                 -
Cladosporium                                              166               4,400               251               6,700               307              82,000
Fusarium                                                   -                   -                 -                   -                  -                 -
Penicillium/Aspergillus types                             318               8,500               327               8,700                50              13,000
Stachybotrys                                               -                   -                 -                   -                  -                 -
Trichoderma                                                -                   -                 -                   -                  -                 -
Ulocladium                                                 -                   -                 -                   -                  -                 -
Others                                                     2                  53                 1                  27                 11                290
                                         § Total:                          13,000                                15,000                                98,000
Additional Information:
Hyphal fragments                                                    53                                    53                                  2,800
Skin cells                                                      40 - 2,000                            40 - 2,000                            40 - 2,000
Pollen                                                             <7                                    <7                                     27
Background debris (1-4)†                                             2                                     3                                     3
Limit of detection                                                   7                                     7                                     7
Sample volume (liters)                                             150                                   150                                   150
Comments:
Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.


‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 6 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                        17:                                   18:                                   19:
                                                       Unit 21, Interior 2644                Unit 22, Interior 2689                Unit 23, Interior 2643
                                                                1966                                  4598                                  4883
Comments (see below)                                                D                                    None                                  None
Lab ID-Version‡:                                                9531919-1                             9531920-1                             9531921-1
Analysis Date:                                                  10/12/2018                            10/12/2018                            10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                 -                  -                  -                   -                  -
Basidiospores                                              38               1,000                4                 110                  5                130
Chaetomium                                                  -                 -                  -                  -                   -                  -
Cladosporium                                               59               1,600                7                 190                  1                 27
Fusarium                                                    -                 -                  -                  -                   -                  -
Penicillium/Aspergillus types                             357               7,200               289               7,700                24                640
Stachybotrys                                                -                 -                  -                  -                   -                  -
Trichoderma                                                 -                 -                  -                  -                   -                  -
Ulocladium                                                  -                 -                  -                  -                   -                  -
Others                                                      9                240                 6                 160                 10                270
                            § Total:                                       10,000                                 8,200                                 1,100
Additional Information:
Hyphal fragments                                  80                            53                                                              27
Skin cells                                    40 - 2,000                      7 - 33                                                      2,000 - 4,000
Pollen                                           <7                             27                                                             <7
Background debris (1-4)†                           3                             2                                                               2
Limit of detection                                 7                             7                                                               7
Sample volume (liters)                           150                           150                                                             150
Comments: D) 118 of the raw count Penicillium/Aspergillus type spores were present as a single clump.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.

‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 7 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                        20:                                   21:                                   22:
                                                       Unit 24, Interior 2689                Unit 25, Interior 2689                Unit 26, Interior 2689
                                                                4603                                  4606                                  4616
Comments (see below)                                               None                                  None                                  None
Lab ID-Version‡:                                                9531922-1                             9531923-1                             9531924-1
Analysis Date:                                                  10/12/2018                            10/12/2018                            10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                  -                 -                 -                    -                 -
Basidiospores                                               -                  -                 -                 -                   11                290
Chaetomium                                                  -                  -                 -                 -                    -                 -
Cladosporium                                                2                 53                844             230,000                 -                 -
Fusarium                                                    -                  -                 -                 -                    -                 -
Penicillium/Aspergillus types                               8                210                 -                 -                  111               3,000
Stachybotrys                                                -                  -                 -                 -                    -                 -
Trichoderma                                                 -                  -                 -                 -                    -                 -
Ulocladium                                                  -                  -                 -                 -                    -                 -
Others                                                      3                 80                 -                 -                    6                160
                                         § Total:                            350                                230,000                                 3,400
Additional Information:
Hyphal fragments                                                      -                                  1,800                                    -
Skin cells                                                         7 - 33                               7 - 33                                 7 - 33
Pollen                                                               <7                                   <7                                     <7
Background debris (1-4)†                                              2                                    1                                      2
Limit of detection                                                    7                                    7                                      7
Sample volume (liters)                                              150                                   150                                   150
Comments:
Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
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Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.


‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 8 of 9
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 635 N. Scott                                                                                     1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                       23:                     24:                                                  25:
                                                     Exterior Front 2644 1999 Exterior Rear 2644 2011                              Unit 17, Interior 2644
                                                                                                                                            1978
Comments (see below)                                               None                                  None                                  None
Lab ID-Version‡:                                                9531925-1                             9531926-1                             9532360-1
Analysis Date:                                                  10/12/2018                            10/12/2018                            10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                  -                  -                 -                   -                 -
Basidiospores                                             192               5,100               251               6,700                 4                110
Chaetomium                                                  -                  -                  -                 -                   -                 -
Cladosporium                                                1                 27                 22                590                283               7,500
Fusarium                                                    -                  -                  -                 -                   -                 -
Penicillium/Aspergillus types                              51               1,400                 4                110                 77               2,100
Stachybotrys                                                -                  -                  -                 -                   -                 -
Trichoderma                                                 -                  -                  -                 -                   -                 -
Ulocladium                                                  -                  -                  -                 -                   -                 -
Others                                                     20                530                 24                640                 11                290
                                         § Total:                           7,000                                 8,000                                10,000
Additional Information:
Hyphal fragments                                                     80                                    -                                    80
Skin cells                                                         7 - 33                               7 - 33                              40 - 2,000
Pollen                                                               27                                   27                                   <7
Background debris (1-4)†                                              3                                    1                                     3
Limit of detection                                                    7                                    7                                     7
Sample volume (liters)                                              150                                  150                                   150
Comments:
Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
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in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

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are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.


‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020584, Page 9 of 9
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All American Home Inspections
Dan Paradela
77119 Crocket Rd
Folsom, LA 70437-3721 USA
(985) 249-4556




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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020589, Page 1 of 17
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                 Table of Contents
Thank you for choosing MoldREPORT™ from EMLab P&K. Our mission is to provide industry
leadership for the assessment of mold in the home indoor environment.

Your MoldREPORT™ is designed and intended for use by professional inspectors in office and residential home
inspections to help in the assessment of mold growth in the living areas sampled by professional inspectors. Our
laboratory analysis is based on the samples submitted to EMLab P&K. Please read the entire report to fully
understand the complete MoldREPORT™ process. The following is a summary of the report sections:

1. Detailed Results of Sample Analysis - Laboratory results from the samples collected at the site.

2. Understanding Your Sample Analysis Results - Detailed summary of how to understand the analytical results
from the air samples and/or surface samples including interpretive guidelines.

3. Important Information, Terms and Conditions - General information to help you understand and interpret your
MoldREPORT™, including important terms, conditions and applicable legal provision relating to this report.

4. Scope and Limitations - Important information regarding the scope of the MoldREPORT™ system, and
limitations
of mold inspection, air sampling, and surface sampling.

5. Glossary - Definitions and descriptions of frequently used terms and commonly found mold.

6. References and Resources - Literature, websites, and other materials that can provide more in-depth information
about mold and indoor air quality.




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and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
this report.
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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020589, Page 2 of 17
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                              Summary of Sample Analysis Results
Do not take any action based on the results of this report until you have read the entire report.

Air Sample Summary:
The MoldSCORE™ was in the MODERATE range for the following area(s): 2, 3. A moderate MoldSCORE™ means that
the results are inconclusive, and suggests that a more detailed inspection by a trained professional may make sense if there
are any other reasons to believe that mold growth could be a problem in this room.

The MoldSCORE™ was in the LOW range for the following area(s): 1. A low MoldSCORE™ indicates the air sample did
not detect, relative to the outside air, the presence of indoor mold growth in this room at the time of sampling.

Please see the sections titled "Detailed Results of the Air Sample Analysis" and "Understanding Your Air Sample Analysis
Results" for important additional information.
Location                                                    MoldSCORE™                                                 Exposure Level
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
1: Unit 6, Interior 2644 2003                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 4 for details                                                               117                                                     481        7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
2: Unit 19, Interior 2689 4596                  <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 5 for details                                                               215                                                    1,127       7,552
                                                Lower                      Higher    Mold       Lower                              Higher Location  Outside
3: Unit 20 Interior 2644 1968                   <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
 * see p. 6 for details                                                               232                                                    1,417       7,552




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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020589, Page 3 of 17
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 63.5 N. Scott                                                                                    1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
1: Unit 6, Interior 2644 2003                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       117                                                      481            7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       100                                                       27            755
B) Cladosporium species spores                                                         117                                                      290            309
C) Basidiospores                                                                       100                                                      110            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         110                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Curvularia


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      27            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside Data transferred from EMLab ID: 2020584 at client's request. Data transferred from EMLab ID: 2020584 at client's request.
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 63.5 N. Scott                                                                                    1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
2: Unit 19, Interior 2689 4596                   Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       215                                                     1,127           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       215                                                      910            755
B) Cladosporium species spores                                                         104                                                      110            309
C) Basidiospores                                                                       100                                                       27            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         103                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      53            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location 48 of the raw count Penicillium/Aspergillus type spores were present as a single clump.
Outside Data transferred from EMLab ID: 2020584 at client's request. Data transferred from EMLab ID: 2020584 at client's request.
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 63.5 N. Scott                                                                                    1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                         Detailed Results of the Air Sample Analysis
Location                                              Overall Mold Source Assessment*                                  Overall Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
3: Unit 20 Interior 2644 1968                    Lower                    Higher Mold             Lower                            Higher Location   Outside
                                                 <110          200           300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       232                                                     1,417           7,552
Indicators of Mold Growth
Indoors                                             Indicator Mold Source Assessment*                                 Indicator Exposure Level
                                                    (Likelihood spores originated inside)                              (Shown on a log scale)
                                                 Lower                    Higher Mold             Lower                             Higher Location  Outside
A) Penicillium/Aspergillus types**               <110         200            300 Score            <200          1K           10K     >70K spores/m3 spores/m3
                                                                                       232                                                     1,100           755
B) Cladosporium species spores                                                         100                                                       <7            309
C) Basidiospores                                                                       100                                                      210            5,900
D) "Marker" spore types***                                                             100                                                       <7             <7
   "Markers" with MoldSCORE™ > 100 (maximum of three listed): None

E) "Other" spore types***,****                                                         103                                                       27            148
   "Others" with MoldSCORE™ > 100 (maximum of five listed): 1)Smuts, Periconia, Myxomycetes


Other Sample Information                                                                                      Other "normal trapping" spores
                                                                                                                           Exposure Level
Sample clarity & visibility                                                                                      (Highly unlikely to be from indoors)
               Good     Moderate       Poor                                                       Lower                              Higher Location  Outside
Location                  X                                                                       <200          1K            10K     >70K spores/m3 spores/m3
Outside                   X                                                                                                                      80            440
"Good" = background debris is light enough to pose no difficulty in analyzing air samples.
"Poor" = background debris so heavy that it poses a significant difficulty in analyzing the                                                  Location Outside
air sample accurately. Results are most likely lower limits.                                     Sample volume (liters)                        150     150
Comments
Location None
Outside Data transferred from EMLab ID: 2020584 at client's request. Data transferred from EMLab ID: 2020584 at client's request.
* Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
Aspergillus.

*** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
may be different than the mold types represented by the counts for the outside sample.

**** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
result if the spores are smuts, not myxomycetes.



The outside sample as reported on this page is actually based upon 2 samples and calculated by averaging the raw counts, averaging the
volume, and then calculating the spores/m3 based upon these results.

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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                   Understanding Your Air Sample Analysis Results
Description of the Air MoldREPORT™ Analysis
Mold spores are present in virtually all environments, both indoors and outdoors, with a few notable exceptions such
as industrial clean rooms and hospital organ transplant rooms. Generally, in "normal" or "clean" indoor
environments, indoor spore levels are lower, on average, than outdoor levels. However, even the most simple rules
(such as "inside/outside" ratios) are not always appropriate for determining whether there is a source of mold growth
indoors, and may provide false or misleading results. One reason these simple methods do not always work is
because both outdoor and indoor spores levels vary widely due to factors such as weather conditions and activity
levels within the room. For example, even in a "normal" home, spore levels can be higher than outdoors at certain
times, such as after vacuuming (when airborne indoor levels could be unusually high) or after a heavy snow (when
outdoor levels could be unusually low).

MoldREPORT™ is designed and intended to provide an easily understood report for residential home inspections to
help in the assessment of mold growth in the living areas sampled. MoldREPORT™ relies on non-invasive and non-
destructive tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™
results apply only to the rooms or areas tested, at the time of sampling. Factors taken into consideration include, but
are not limited to, the distribution of spore types, absolute levels inside and outside, relative levels inside and outside,
the range and variation of spore levels that normally occur outside, and the types of spores present.

Providing you with a helpful, understandable and top quality interpretation requires special expertise. EMLab P&K
recognizes this and has taken the following steps to provide the best possible interpretation of your air sampling
results.

1. Your samples were analyzed by EMLab P&K,

2. We utilize the proprietary MoldREPORT™ analysis system, which was developed by a team including leading
professionals in the indoor air quality (IAQ) industry.

MoldSCORE™
The MoldSCORE™ indicates the likelihood, based upon the air sample laboratory data, that there is unusual or
excessive mold growth in the properly sampled indoor area(s). It is calculated using EMLab P&K's proprietary
MoldREPORT™ system, based upon the indicator scores described in the following paragraphs. When the on-site
inspection and sampling are done properly, MoldREPORT™ is less likely to give false results than other, simpler
methods of interpretation often employed for routine home inspections, such as ratio analysis. It is important to bear
in mind that any analytical method, findings, and interpretation should be used with a degree of caution and common
sense. Any decisions related to health should be made in consultation with a medical doctor, and nothing in this
report is intended to provide medical advice or indicate whether a medical or safety problem exists.

Descriptions of the indicators:

Quantity and concentration of Penicillium/Aspergillus spore types
This score indicates the likelihood that spores of Penicillium or Aspergillus present in the indoor sample originated
from indoor sources. A high score suggests that there is a high probability that Penicillium or Aspergillus is
originating indoors, such as from active mold growth. A low score indicates that the spores present are more likely to
have originated from outdoor sources and come inside through doors and windows, carried in on people's clothing,
or similar methods. Penicillium and Aspergillus are among the most common molds found growing indoors and are
one of the more commonly found molds outside as well. Their spores are frequently present in both outdoor and
indoor air, even in relatively clean, mold-growth-free, indoor environments. Additionally, their levels vary
significantly based upon activity levels, dustiness, weather conditions, outside air exchange rates, and other factors.



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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
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                        Understanding Your Air Sample Analysis Results (continued)
Quantity and concentration of Cladosporium spores
This score indicates the likelihood that spores of Cladosporium present in the indoor sample originated from indoor
sources. A high rating indicates that there is probably a source of Cladosporium spores in this location.
Cladosporium is one of the most commonly found molds outdoors and is also frequently found growing indoors. Even
more so than Penicillium and Aspergillus, spores from Cladosporium are generally present in outdoor and indoor air,
even in relatively clean, mold-growth-free, indoor environments. Its levels also vary based upon activity levels,
weather conditions, dustiness, outside air exchange rates, and other factors.

Quantity and concentration of basidiospores
This score indicates the likelihood that basidiospores present in the indoor sample originated from indoor sources.
Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It is rare
for the source of basidiospores to be indoors because basidiospores are produced by a group of fungi that includes
mushrooms and other "macrofungi" (and are not technically molds). Their concentrations can be extremely high
outdoors during wet conditions such as rain. Nevertheless, in certain conditions basidiospores can be produced
indoors, and a high rating indicates that there is probably a source of basidiospores indoors. One reason
basidiospores are important is that they can be an indicator of wood decay (e.g. "dry rot"), a condition that can
dramatically reduce the structural integrity of a building.

Quantity and concentration of "marker" spore types
This score indicates the likelihood that certain distinctive types of mold present in the indoor sample originated from
indoor sources. Certain types of mold are generally found in very low numbers outdoors. Consequently, their
presence indoors, even in relatively low numbers compared to Penicillium, for example, is often an indication that
these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a
mold problem. Note, however, that the absence of marker spore types does not mean that a mold problem does not
exist in a house; it just means that if a problem is present, it either involves types of mold that are more commonly
found both indoors and outdoors, or that the spores from these molds were not airborne at the time of sampling.

Quantity and concentration of "other" spore types
This score indicates the likelihood that other types of mold present in the indoor sample originated from indoor
sources. This score includes a heterogeneous group of genera that are not covered by any of the scores discussed
above, and so it is difficult to make generalizations about this group. Molds in the "other" category are generally
found outdoors in moderate numbers, and are therefore not considered markers of indoor growth. They are frequently
found indoors but in lower numbers compared to Cladosporium and Penicillium/Aspergillus spores.

Other Sample Information:

Sample clarity and visibility
Air samples collect dirt and debris in addition to mold spores. Higher levels of debris make analysis more difficult,
because they obscure the analyst's view of spores and can therefore lead to undercounting of the mold spores present.
When sample clarity and visibility is rated "poor", the analytical results should be regarded as minimal and actual
counts may be higher than reported.

Other "normal trapping" spores
Some molds do not grow on wet building materials and, consequently, are not usually indicative of building problems,
or growth on building surfaces. Strict plant pathogens, for example, even if present in high numbers indoors, are not
an indication of a building leak or mold growth on a wall or carpet. This section of the report focuses on the exposure
level that may be due to these spore types.




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Aerotech Laboratories, Inc                                                                                                  EMLab ID: 2020589, Page 8 of 17
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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
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                        Understanding Your Air Sample Analysis Results (continued)
Sample volume
The "sample volume" indicates the volume of air sampled and is reported in liters. A high volume indicates a greater
sensitivity, but is more likely to result in poor sample clarity and visibility. A low volume is more likely to have good
sample clarity and visibility, but has less sensitivity.

Comments
This is where analysts can comment on unusual details or add additional information that is not captured by the other
areas of the air sampling report.




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
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Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
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                                   Interpretive Guidelines to MoldSCORE™ Levels
MoldSCORE™ Level: LOW
A low MoldSCORE™ indicates the air sample did not detect, relative to the outside air, the presence of indoor mold growth in
this room at the time of sampling. This result, by itself, is evidence for, but does not prove, the absence of indoor mold growth in
the location sampled.

Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
time of the inspection.

MoldSCORE™ Level: MODERATE
The air sampling MoldSCORE™ indicated the possibility of mold growth indoors. Generally, a MODERATE level means that the
results are inconclusive, and suggests that a more detailed inspection may make sense if there are any other reasons to believe
that mold growth could be a problem in this location. Indoor mold growth is a possibility, but was not confirmed in the areas
sampled at the time of the inspection. Factors such as recent cleaning, HVAC cycles, high winds, rain, or other indoor or outdoor
conditions could have contributed to a MODERATE result in the absence of indoor mold growth. If mold growth is found,
regardless of the magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls
and precautions. If mold has been located and removed, it is also important to identify and correct the source of moisture or
dampness that allowed the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend
that you consult a professional if you are not familiar with how to locate and safely remove mold growth or how to identify and
correct moisture problems that may exist.

Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
time of the inspection.

MoldSCORE™ Level: HIGH
The air sampling MoldSCORE™ indicated a high likelihood of mold growth in the area tested at the time of the inspection. This
result is NOT necessarily an indication that any such mold growth was extensive. If mold growth is found, regardless of the
magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls and precautions. If
mold has been located and removed, it is also important to identify and correct the source of moisture or dampness that allowed
the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend that you consult a
professional if you are not familiar with how to locate and safely remove mold growth or how to identify and correct moisture
problems that may exist.

Health concerns
Neither this report nor any MoldSCORE™ rating is intended to provide medical advice, nor shall it be interpreted as an
indicator of potential medical or safety problems. If you have concerns or questions relating to your health, please contact your
physician for advice.




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Client: All American Home Inspections                                                                                                      MoldREPORT
Contact: Dan Paradela                                                                                                                 EMLab P & K
Project: 63.5 N. Scott                                                                                  1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                      (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

     Important Information, Terms and Conditions Relating to your MoldREPORT™
The study and understanding of molds is a progressing science. Because different methods of sampling, collection and analysis
exist within the indoor air quality industry, different inspectors or analysts may not always agree on the mold concentrations
present in a given environment. Additionally, the airborne levels of mold change frequently and by large amounts due to many
factors including activity levels, weather, air exchange rates (indoors), and disturbance of growth sites. It is possible for report
interpretations and ranges of accuracy to vary since comprehensive, generally accepted industry standards do not currently exist
for indoor air quality inspections of mold in residential indoor environments. MoldREPORT™ is intended to provide an analysis
based upon samples taken at the site at the time of the inspection. Mold levels can and do change rapidly, especially if home
building materials or contents remain wet for more than 24 hours, or if they are wet frequently. MoldREPORT™ is not intended
to provide medical or healthcare advice. All allergy or medical-related questions and concerns, including health concerns
relating to possible mold exposure, should be directed to a qualified physician. If this report indicates scores that are higher than
in typical indoor living spaces relative to the outdoor environment, or indicates any findings that are of concern to you, further
evaluation by a trained mold professional or a Certified Industrial Hygienist (CIH) may be advisable.

Warranties, legal disclaimers and limitations
MoldREPORT™ is designed and intended for use only in residential home inspections to help in the assessment of mold growth
in the living areas sampled. Our laboratory analysis and report are based on the samples submitted to EMLab P&K. The
inspection(s) and sampling should be performed only by a licensed and professional home inspector, environmental mold
specialist, industrial hygienist or residential appraiser trained and qualified to conduct mold inspections in residential buildings.
Client agrees to these conditions for the on-site project inspection.

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on this report. The analysis of the test samples is performed by EMLab P&K. EMLab P&K's policy is that reports and test results
will not be released to any third party without prior written consent from EMLab P&K's client. This report applies only to the
samples taken at the time, place and location referenced in the report and received by EMLab P&K, and to the property and
weather conditions existing at that time only. Please be aware, however, that property conditions, inspection findings and
laboratory results can and do change over time relative to the original sampling due to changing conditions, the normal
fluctuation of airborne mold, and many other factors. Client and reader are advised that EMLab P&K does not furnish, and has
no responsibility for, the inspector or inspection service that performs the inspection or collects the test samples. It is the
responsibility of the end-user of this report to select a properly trained professional to conduct the inspection and collect
appropriate samples for analysis and interpretation by MoldREPORT™. None of EMLab P&K, EMLab P&K or their affiliates,
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shall have any liability with respect to decisions or recommendations made or actions taken by either the client or the client's
customer based on the report.

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inspector performing the sampling and inspection reported herein, or the accuracy of any information provided to any EMLab
P&K-related party serving as a basis for this report. EMLab P&K reserves the right to change its scoring method at any time
without notice. EMLab P&K reserves the right to dispose of samples two weeks after analysis unless otherwise specified by the
client. If the client chooses to have EMLab P&K continue to retain the samples after this two week period, the client must provide
written notification to EMLab P&K of this request. EMLab P&K reserves the right to charge for the additional sample storage.

In no event will any EMLab P&K-related party be liable for any special, indirect, incidental, punitive, or consequential damages
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or arising from this report, whether under contract law, tort law, warranty or otherwise, shall be limited to direct damages not to
exceed the fees actually received by EMLab P&K from the client for the report.

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affect the enforceability of the remainder of these provisions, terms and conditions.


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                                      Scope and Limitations of Report and Analysis
The scope of the MoldREPORT™ system is limited to EMLab P&K's proprietary MoldSCORE™ analysis of the air and surface
samples taken at the time of the inspection. EMLab P&K cannot be liable, in any form of action, for any items that are not
included within the scope of the MoldREPORT™ system.

MoldREPORT™ Inspection Limitations
MoldREPORT™ results are based upon mold air and surface samples. Mold surface samples are useful for confirming and
identifying mold growth while air samples measure airborne mold levels.

This report provided by EMLab P&K is based upon the assumption that the information provided by the inspector is true and
correct, that a sufficient number of mold and air samples were collected at all the appropriate locations following proper
inspection and sampling protocols, and that the mold samples collected represent normal conditions at the site sampled. EMLab
P&K is not able to, and cannot, guarantee the skill level or experience of the inspector performing the MoldREPORT™
inspection, nor can it guarantee that the samples have been properly collected at the site or are representative of normal
conditions since many factors outside of EMLab P&K's (and the inspector's) control can and do substantially affect mold levels.
Consequently, EMLab P&K cannot guarantee the accuracy of the interpretation provided herein. It is the responsibility of the
inspector to insure that the mold samples were collected properly. MoldREPORT™ relies on non-invasive and non-destructive
tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™ results apply only to the
rooms sampled, not to the entire building or any other rooms. It is the responsibility of the property owner, potential purchaser or
other end-user of this report to select a properly trained and qualified inspector.

About Air Sample Sampling and Analysis
EMLab P&K requires at least one outdoor air sample and one indoor air sample in order to make indoor/outdoor comparisons
and assessments of airborne mold levels, which are an integral part of the EMLab P&K MoldREPORT™ system. The indoor air
samples taken can be representative of the airborne mold present in the area sampled. The analysis and interpretation of these air
samples is proprietary and is based upon: relative levels of spores present, quantities and concentration of Penicillium/
Aspergillus type spores, quantity and concentration of Cladosporium spores, quantity and concentration of basidiospores,
quantity and concentration of "marker" spore types, quantity and concentration of "other" spore types, and the distribution of
mold spore types. Spore identification is performed visually by trained analysts according to industry norms. Using visual
identification, most mold spores lack sufficient distinguishing characteristics to allow for species identification, so the
MoldREPORT™ analysis is generally performed at the genus level. Currently there are no generally-accepted protocols or
regulations regarding air sampling for molds, in large part due to the inability of any single technique to provide a complete
analysis of all mold spores and mold growth in an area. Air sampling for MoldREPORT™ can be performed using any standard
"spore trap" method, which are also called "non-viable air sampling methods" because spore traps do not require the
germination and growth of the spores before identification. Commonly used spore trap equipment for performing air sampling for
mold includes Zefon Air-O-Cell™ Cassettes, Burkard™ samplers, and Allergenco™ samplers.

About Surface Sampling and Analysis
Surface sampling can be useful for differentiating between mold growth and stains, for identifying the type of mold growth
present (if present), and, in some cases, identifying signs of mold growth in the vicinity. Although not required, surface sampling
can improve the accuracy of the results and interpretation of the inspected environment if sampled correctly. EMLab P&K
accepts surface samples in the form of swabs, tapes, or bulks in order to perform a direct examination of a specific location. The
MoldREPORT™ analysis system uses the direct examination data in addition to the MoldREPORT™ air sample analysis.




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                                                                         Glossary
Background Debris - Material(s) found on the air sample other than mold spore(s) or mycelia. Examples include skin
cells, insect parts, and fibers.

False Positive - A test result that incorrectly indicates mold growth, when in reality there is none. For example, an air
sample test result indicating indoor mold growth, when no mold growth is actually present is a "False Positive."

False Negative - A test result that shows no mold growth, when in reality mold growth is present. For example, an air
sample test result indicating no indoor mold growth, when mold growth is actually present.

Fungi - A kingdom that includes yeasts, molds, smuts, and mushrooms. Fungi are not animals, plants or bacteria, but
their own kingdom.

HVAC - Heating, Ventilation, and Air Conditioning (HVAC) systems are possible reservoirs for mold growth.

IAQ - Indoor Air Quality (IAQ) is the main focus of EMLab P&K and the majority of its customers.

Industrial Hygienist - A professional who monitors exposure to environmental factors that can affect human health.
Examples of environmental factors include chemicals, heat, asbestos, noise, radiation, and biological hazards.

Marker Spores - Spore types, such as Chaetomium and Stachybotrys, that when found indoors, even in moderate
numbers are an indication of indoor mold growth.

Note: This glossary is intended to provide general information about commonly occurring molds, and is not intended
to be a complete source.

Alternaria:
Distribution: Alternaria is one of the most common molds and is abundant worldwide. This genus contains around
40 to 50 different species, only a few of which are commonly found indoors.
How it is spread: Alternaria spores are easily dispersed through the air by wind.
Where it is found outdoors: Alternaria is common outdoors in soil, dead organic debris, foodstuffs, and textiles. It is
also a plant pathogen and is frequently found on dead or weakened plants.
Where it is found indoors: Alternaria can grow on a variety of substrates indoors when moisture is present.

Acremonium:
Distribution: Acremonium is a common mold, including about 80 to 90 different species.
How it is spread: Acremonium produces wet slimy spores and is normally dispersed through water flow or droplets,
or by insects. Old dry Acremonium spores can sometimes be dispersed through the air by wind.
Where it is found outdoors: Acremonium is found in soil, on dead organic material and debris, hay, and foodstuffs.
Where it is found indoors: Acremonium can be found anywhere indoors, but requires very wet conditions in order to
proliferate. The spores probably require active disturbance for release.

Aspergillus: (see Penicillium/Aspergillus)




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                                                              Glossary (continued)
Basidiospores:
Distribution: Basidiospores are produced by a very large and diverse group of fungi called basidiomycetes, which
contains over 1000 different genera. This group includes many well-known macrofungi, such as mushrooms.
Basidiospores are often abundant in outdoor air and sometimes in indoor air.
How they are spread: Many types of basidiospores are actively released into the air during periods of high humidity
or rain. Once the spores are expelled into the air, they are dispersed easily by wind.
Where they are found outdoors: Basidiomycetes are very common outdoors and can be found in gardens, forests,
grasslands, and anywhere there is a substantial amount of dead organic material. They are also found on or near
plants and some are known to be plant pathogens.
Where they are found indoors: Basidiospores found indoors typically come from outdoor sources and are carried
inside by airflow or on clothing. Certain kinds of basidiomycetes can grow indoors, such as those that cause "dry
rot", which can cause structural damage to wood. Occasionally, other basidiomycetes such as mushrooms can be
found indoors, but this is not common. Generally, basiodiomycetes require wet conditions for prolonged periods in
order to grow indoors.

Bipolaris / Dreschlera:
Distribution: Bipolaris and Dreschlera are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. Both genera include around 30 - 40 different species.
How they are spread: Bipolaris / Dreschlera spores are easily dispersed through the air by wind.
Where they are found outdoors: Bipolaris / Dreschlera type spores are most abundant in tropical or subtropical
climates. They can grow in soils, on plant debris and grasses, and are known to be plant pathogens.
Where they are found indoors: Bipolaris / Dreschlera can grow on a variety of indoor substrates when moisture is
present.

Ceratocystis / Ophiostoma:
Distribution: Ceratocystis / Ophiostoma are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. These genera contain around 50 to 60 different species.
How they are spread: Ceratocystis / Ophiostoma produce wet slimy spores and are normally dispersed through
water flow, droplets, or by insects. These spores are rarely identified in air samples.
Where they are found outdoors: Ceratocystis / Ophiostoma are very common in commercial lumberyards and
forests.
Where they are found indoors Ceratocystis / Ophiostoma are abundant on wood framing material in the home,
although the spores are rarely found in air samples. This mold is sometimes called "lumber mold".

Chaetomium:
Distribution: Chaetomium is a common mold worldwide. This genus contains around 80 - 90 different species.
How it is spread: Chaetomium spores are formed inside fruiting bodies. The spores are released by being forced out
through a small opening in the fruiting body. The spores are then dispersed by wind, water drops, or insects.
Where it is found outdoors: Chaetomium can be found in soil, on various seeds, cellulose substrates, dung, woody
materials and straw.
Where it is found indoors: Chaetomium can grow in a variety of areas indoors, but is usually found on cellulose-
based or woody materials in the home. It is very common on sheetrock paper that is or has been wet.




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                                                              Glossary (continued)
Cladosporium:
Distribution: Cladosporium is an abundant mold worldwide and is normally one of the most abundant spore types
present in both indoor or outdoor air samples. This genus contains around 20 - 30 different species.
How it is spread: Cladosporium produces dry spores that are formed in branching chains. Spores are released by
twisting of the spore-bearing hyphae as they dry. Thus, the spores are most abundant in dry weather.
Where it is found outdoors: Cladosporium is found in a wide variety of soils, in plant litter, and on old and decaying
plants and leaves. Some species are plant pathogens
Where it is found indoors: Cladosporium can be found anywhere indoors, including textiles, bathroom tiles, wood,
moist windowsills, and any wet areas in a home. Some species of Cladosporium grow at temperatures near or below
0(C) / 32(F) and can often be found on refrigerated foodstuffs and even frozen meat.

Curvularia:
Distribution: Curvularia is a cosmopolitan fungus and includes approximately 30 different species.
How it is spread: Curvularia produces dry spores that are formed in fragile chains and is very easily dispersed
through the air by wind.
Where it is found outdoors: Curvularia is most common in tropical or subtropical regions. It is found in soil and on
debris of tropical plants.
Where it is found indoors: Curvularia can be found growing on a variety of substrates indoors.

Epicoccum:
Distribution: Epicoccum is a cosmopolitan mold that includes only two species.
How it is spread: Epicoccum produces large dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Epicoccum can be found in soils or on plant debris.
Where it is found indoors: Epicoccum is commonly found on many different substrates indoors including paper,
textiles, and insects.

Memnoniella:
Distribution: Memnoniella is a cosmopolitan mold genus that includes approximately five species. It is frequently
found in conjunction with Stachybotrys species due to its similar ecological preferences.
How it is spread: Memnoniella produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Memnoniella can be found outdoors in soil, in plant debris or litter, and as pathogens
on some types of living plants.
Where it is found indoors: Memnoniella can grow on a variety of substrates indoors, but mainly can be found on
wet cellulose-based materials, such as wallboard, jute, wicker, straw baskets, paper and other wood by-products.

Paecilomyces:
Distribution: Paecilomyces is ubiquitous in nature and includes between 9 and 30 different species, depending on the
taxonomic system used. Its spores are visually similar to Penicillium / Aspergillus types of spores.
How it is spread: Paecilomyces produce dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Paecilomyces is found outdoors in soils and decaying plant matter, composting
processes, legumes and cottonseeds. Some species parasitize insects.
Where it is found indoors: Paecilomyces can be found on a number of materials indoors. It has been isolated from
jute fibers, papers, PVC, timber, optical lenses, leather, photographic paper, cigar tobacco, harvested grapes, bottled
fruit, and fruit juice undergoing pasteurization.




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                                                              Glossary (continued)
Penicillium / Aspergillus:
Distribution: Penicillium / Aspergillus are two separate genera of molds that are so visually similar that they are
commonly discussed together as a group. Together, there are approximately 400 different species of Penicillium /
Aspergillus.
How it is spread: Penicillium / Aspergillus produce dry spore types that are easily dispersed through the air by wind.
These fungi serve as a food source for mites, and therefore can be dispersed by mites and various insects as well.
Where it is found outdoors: Penicillium / Aspergillus are found in soils, decaying plant debris, compost piles, fruit
rot and some petroleum-based fuels.
Where it is found indoors: Penicillium / Aspergillus are found throughout the home. They are common in house
dust, growing on wallpaper, wallpaper glue, decaying fabrics, wallboard, moist chipboards, and behind paint. They
have also been isolated from blue rot in apples, dried foodstuffs, cheeses, fresh herbs, spices, dry cereals, nuts,
onions, and oranges.

Stachybotrys:
Distribution: Stachybotrys is ubiquitous in nature. This genus contains about 15 species.
How it is spread: Stachybotrys produces wet slimy spores and is commonly dispersed through water flow, droplets,
or insect transport, less commonly through the air.
Where it is found outdoors: Stachybotrys is found in soils, decaying plant debris, decomposing cellulose, leaf litter
and seeds.
Where it is found indoors: Stachybotrys is common indoors on wet materials containing cellulose such as
wallboard, jute, wicker, straw baskets, and other paper materials.

Torula:
Distribution: Torula is a cosmopolitan microfungus and includes approximately eight different species
How it is spread: Torula produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Torula is most common in temperate regions and has been isolated from soils, dead
herbaceous stems, sugar beet roots, groundnuts, and oats.
Where it is found indoors: Torula is common indoors on wet materials containing cellulose, such as wallboard, jute,
wicker, straw baskets, and other paper materials.

Ulocladium:
Distribution: Ulocladium is ubiquitous in nature and includes approximately nine different species.
How it is spread: Ulocladium produces dry spores that are easily dispersed through the air by wind.
Where it is found outdoors: Ulocladium is common outdoors in soils, dung, paint, grasses, wood, paper, and
textiles.
Where it is found indoors: Ulocladium is common indoors on very wet materials containing cellulose such as
wallboard, jute, wicker, straw baskets, and other paper materials. Ulocladium requires a significant amount of water
to flourish.




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Useful Websites:

www.acgih.org
American Conference of Governmental Industrial Hygienists - information on IAQ and useful links.

www.aiha.org
American Industrial Hygiene Association - general IAQ information

www.calepa.ca.gov
California Environmental Protection Agency - California IAQ resources

www.emlab.com
EMLab P&K

www.epa.gov
Environmental Protection Agency - information regarding prevention and remediation of mold

www.health.state.ny.us
New York State Department of Health - New York state recommendations for IAQ, indoor mold inspections, remediation, and
prevention

www.moldreport.com
MoldREPORT™ - online store, and other information about MoldREPORT™

www.nih.gov
National Institutes of Health - information regarding environmental health issues, including IAQ

www.niehs.nih.gov
National Institute of Environmental Health Sciences - information on mold



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(985) 249-4556




Approved by:                                                      Dates of Analysis:
                                                                  MoldReport Spore trap: 10-12-2018 and 10-12-2018




     Operations Manager
     Joshua Cox




Service SOPs: MoldReport Spore trap (EM-MY-S-1038)
AIHA-LAP, LLC accredited service, Lab ID #102297




All samples were received in acceptable condition unless noted in the Report Comments portion in the body of the report. Due to
the nature of the analyses performed, field blank correction of results is not applied. The results relate only to the items tested.


The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the
analytical sensitivity (in spores/m^3) multiplied by the sample volume (in liters) divided by 1000 liters.

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the Company's own willful misconduct or gross negligence nor shall the Company be liable for incidental or consequential
damages or lost profits or revenues to the fullest extent such liability may be disclaimed by law, even if the Company has been
advised of the possibility of such damages, lost profits or lost revenues. In no event shall the Company's liability with respect to
the Test Results exceed the amount paid to the Company by the client therefor.
Aerotech Laboratories, Inc                                                                            EMLab ID: 2020589, Page 1 of 3
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Client: All American Home Inspections                                                                                                          MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 63.5 N. Scott                                                                                    1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                        1:                                     2:                                    3:
                                                    Unit 6, Interior 2644 2003               Unit 19, Interior 2689                 Unit 20 Interior 2644
                                                                                                      4596                                  1968
Comments (see below)                                               None                                  A                                     None
Lab ID-Version‡:                                                9532015-1                            9532016-1                              9532017-1
Analysis Date:                                                  10/12/2018                           10/12/2018                             10/12/2018
Spore types detected:                                   raw ct.             per m3            raw ct.            per m3              raw ct.            per m3
Aureobasidium                                               -                  -                 -                   -                  -                 -
Basidiospores                                               4                110                 1                  27                  8                210
Chaetomium                                                  -                  -                 -                   -                  -                 -
Cladosporium                                               11                290                 4                 110                  -                 -
Fusarium                                                    -                  -                 -                   -                  -                 -
Penicillium/Aspergillus types                               1                 27                70                 910                 42               1,100
Stachybotrys                                                -                  -                 -                   -                  -                 -
Trichoderma                                                 -                  -                 -                   -                  -                 -
Ulocladium                                                  -                  -                 -                   -                  -                 -
Others                                                      2                 53                 3                  80                  4                110
                            § Total:                                         480                                  1,100                                 1,400
Additional Information:
Hyphal fragments                                   -                            27                                                                -
Skin cells                                      7 - 33                      40 - 2,000                                                         7 - 33
Pollen                                            <7                           <7                                                                <7
Background debris (1-4)†                           2                             2                                                                2
Limit of detection                                 7                             7                                                                7
Sample volume (liters)                           150                           150                                                              150
Comments: A) 48 of the raw count Penicillium/Aspergillus type spores were present as a single clump.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
generally present in outdoor and indoor air, even in relatively clean, mold-growth-free, indoor environments. Levels vary based upon activity
levels, weather conditions, dustiness, outside air exchange rates, and other factors.

Penicillium/Aspergillus types: Penicllium and Aspergillus are among the most common molds found growing both indoors and outdoors (even
in relatively clean, mold-growth-free, indoor environments). Levels vary based upon activity levels, dustiness, weather conditions, outside air
exchange rates, and other factors.

Stachybotrys and other marker types: Certain types of mold, such as Aureobasidium, Chaetomium, Fusarium, Trichoderma, and Ulocladium,
are generally found in very low numbers outdoors. Consequently their presence indoors, even in relatively low numbers, is often an indication
that these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a mold problem.

Others: Molds in the "Others" category are generally found outdoors in moderate numbers, and are therefore not considered markers of indoor
growth.

‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                     EMLab ID: 2020589, Page 2 of 3
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Client: All American Home Inspections                                                                                                        MoldREPORT
Contact: Dan Paradela                                                                                                                   EMLab P & K
Project: 63.5 N. Scott                                                                                    1501 West Knudsen Drive, Phoenix, AZ 85027
Date of Sampling: 10-10-2018                                                                                        (800) 651-4802 Fax (623) 780-7695
Date of Receipt: 10-11-2018
Date of Report: 10-12-2018

                                                                  Laboratory Results
MoldREPORT: Spore Trap Analysis
Location:                                                                 23:                                                     24:
                                                               Exterior Front 2644 1999                                 Exterior Rear 2644 2011
Comments (see below)                                                          B                                                       B
Lab ID-Version‡:                                                          9532018-0                                               9532019-0
Analysis Date:                                                            10/12/2018                                              10/12/2018
Spore types detected:                                        raw ct.                     per m3                       raw ct.                     per m3
Aureobasidium                                                   -                           -                            -                           -
Basidiospores                                                 192                        5,100                         251                         6,700
Chaetomium                                                      -                           -                            -                           -
Cladosporium                                                   1                           27                           22                          590
Fusarium                                                        -                           -                            -                           -
Penicillium/Aspergillus types                                  51                        1,400                           4                          110
Stachybotrys                                                    -                           -                            -                           -
Trichoderma                                                     -                           -                            -                           -
Ulocladium                                                      -                           -                            -                           -
Others                                                         20                         530                           24                          640
                            § Total:                                                     7,000                                                     8,000
Additional Information:
Hyphal fragments                                       80                                                                               -
Skin cells                                          7 - 33                                                                           7 - 33
Pollen                                                 27                                                                              27
Background debris (1-4)†                                3                                                                               1
Limit of detection                                      7                                                                               7
Sample volume (liters)                                150                                                                             150
Comments: B) Data transferred from EMLab ID: 2020584 at client's request.

Basidiospores (basidiomycetes): Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It
is rare for the source of basidiospores to be indoors. However, basidiospores may be an indicator of wood decay.

Cladosporium: One of the most commonly found molds outdoors and frequently found growing indoors. Spores from Cladosporium are
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growth.


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value of "x".
† Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
indicating the largest amounts.

The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
multiplied by the sample volume (in liters) divided by 1000 liters.


§ Total has been rounded to two significant figures to reflect analytical precision.

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Aerotech Laboratories, Inc                                                                                                      EMLab ID: 2020589, Page 3 of 3
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           Exhibit C
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                                    October 19, 2018

CERTIFIED MAIL AND EMAIL

635 N. Scott St., LLC
147 Carondelet Street, Suite 1137
New Orleans, LA 70130
Attn: Joshua Bruno
Email: ​JBruno@brunoinc.com


       Re:    Lease Agreements dated October 25, 2017 (the “Leases”) between 635 N
              Scott St., LLC (“Landlord”) and Sonder USA, Inc. (“Tenant”) for lease of
              Units 1 through 26 (each a “Unit” and collectively, the “Units”) of
              property located at 635 N. Scott Street, New Orleans, LA


Dear Mr. Bruno:

        As you know, Tenant previously notified Landlord on numerous occasions of the
visible presence of mold in several of the Units. That caused Tenant to retain an
environmental expert to analyze the air inside the Units. This past Tuesday October 16,
2018, we received the enclosed report from the environmental expert. Per the report,
visible mold was noted in most of the Units. The report indicates high MoldSCOREs for
Units 12, 14, 15, 16, 17, 18, 21, 22, and 25. The report indicates moderate MoldSCOREs
for Units 2, 4, 10, 11, 13, 19 and 20. The expert believes that some combination of roof
leaks, HVAC condensation issues, and/or issues with the refrigerant lines is causing the
mold to form. The report also notes the possibility of hidden mold growth in the
underlying building materials. The expert concludes that due to the elevated mold in the
interior of the Units, a state licensed mold remediation contractor should be hired to
assess and perform mold remediation in accordance with EPA guidelines. The remainder
of the findings are contained in the enclosed letter and report.

        The Leases require the Landlord to “maintain and keep the [Units] and all
components in good working order, suitable for residential use.” The moderate and high
levels of mold and visible evidence of mold found in the Units makes them unfit for
residential use and poses a danger to Tenant, its employees, contractors, guests, and
subtenants. Please accept this letter as Tenant’s formal notice of the mold problem
within the Units and Tenant’s demand that Landlord promptly take immediate steps to
remediate the mold problem and its underlying causes, including hiring a state licensed
mold remediation contractor to remediate the mold and notifying Landlord’s insurance
carrier of the issue. Please promptly provide Tenant with copies of your contract with
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the mold remediation specialist, estimated schedule for completion of the mold
remediation and notice to your insurance carrier.

        Tenant is in the process of attempting to relocate all current bookings of the Units
for the dates between the date of this letter and October 31, 2018. Tenant will not
recommence rentals of the Units until Landlord provides Tenant with evidence that
Landlord is taking the necessary steps to remediate the mold and will not re-rent the
Units until Landlord provides Tenant with proper evidence that the mold has been
properly remediated and the underlying causes have been fixed. Tenant reserves all
rights and remedies available to it under the provisions of the Lease and applicable law,
including, but not limited to, the right to abate rent, terminate the Leases and/or recover
damages from Landlord for all losses suffered by Tenant.

       Thank you for your prompt attention to this matter.


                                                             Sincerely,



                                                             Nicole Elia
                                                             Property Manager
                                                             Sonder USA, Inc.
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           Exhibit D
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--------- Forwarded message ----------
From: Josh Bruno <JBruno@brunoinc.com>
Date: Fri, Oct 19, 2018 at 4:33 PM
Subject: Re: 635 Scott Street - Mold
To: Nicole Elia <nicole.elia@sonder.com>
Cc: Bob Ellis <bob@canlasellis.com>, Peter Bowen <peter.bowen@sonder.com>, Steve Coffman
<scoffman@brunoinc.com>




Nicole,
We have reviewed these alleged findings and vehemently disagree with these baseless self-serving
assessments that are grossly inaccurate.


Unfortunately, these baseless retaliatory claims are on the heels of sonder continuingly failing to pay rent
on time, all monies due along with complete and utter failure of basic unit maintenance such as cleaning
the ac filters and setting the temperatures below 68 while leaving units unattended and vacant along with
failing to notify timely when an issues due occur.


Like kind with your neglectful tenants abusing our gates, landscaping and vandalizing our property no
funds have been paid or corrective action taken by you, your team or anyone from Sonder USA.


We have met with your representatives and fellow staff members on numerous occasions, sent notices,
numerous emails, in person meeting and phone conversations of the same to no avail. Please be well
aware that our office has audio and video recording of such including but not limited to our
meeting just a few weeks ago when you assured we would receive the back rent and fees owed
which have yet to be paid by Sonder.


These negligent property damages are not caused by our part but if and where these areas of concern
are related would be due to negligent and self-inflicted property damage by Sonder USA and their ever-
rotating team of employees trying to operate in positions which they do not hold certain training or ability
as per your own description. Failure to enter and maintain the most basic of unit maint. Or operation.


We have over the past year assembled quite a list of fellow various landlords who have been victimized
as well by Sonders technique of threatening payment, missing payments, abating payments improperly.
Strangely a number of them as well have AC filter cleaning and temperature setting problems like kind to
the exact ones we are experiencing.


While there maybe a way to work this out without a WELL publicized litigation we see this coming
to a thunderhead rather quickly with your again continual fall back threat Sonder is well known for
using as a scare tactic with small family owned landlords which count on these rental payments
to support their families and pay employees.
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As per section 12 of executed leases please send over your insurance policy and contact information for
our office to place a claim and notice with your required insurance company of these damages if and any
caused by your firm and short term rental occupants.


Please as well send over your legal representation as Bob Ellis represents various companies of mine as
well as me personally since 2003.


We hope to come to an amicable solution and settlement but it seems this will not be the case.


We look forward to receiving requested documents by EOB Monday or we will transfer this file to our
litigation firm and let the judge, jury and public decide whats right and whats wrong.


Very unfortunate that Sonder is taking this position yet again but we are very confident the local judicial
system will protect the local public as needed.


Perhaps the city government did have merit on their view of banning STR’s.
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           Exhibit E
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